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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 VOIP-PAL.COM INC.
           Plaintiff,

        v.                                                Civil Action No. 24-cv-03051(RDM)

 AT&T, INC., et al.
          Defendants.

 PLAINTIFF’S MOTION FOR LEAVE TO AMEND PLAINTIFF’S FIRST AMENDED
                           COMPLAINT

       COMES NOW, Plaintiff VoIP-Pal.Com Inc. (“VoIP-Pal”), by and through undersigned

counsel, and respectfully moves the Court to grant leave to amend Plaintiff’s First Amended

Complaint, and states the following:

                                    I. Procedural Background.

       VoIP-Pal filed this case on October 25, 2024. On that same day, VoIP-Pal filed a

related class action case, Inza, et al. v. AT&T, et al., Case No 1:24-cv-03054. The class action case

was assigned to Judge Reggie B. Walton. On October 30, 2024, VoIP-Pal filed a motion to

consolidate this case with the class action case. On October 31, 2024, the Court sua sponte

transferred the class action case to Judge Moss. On December 17, 2024, VoIP-Pal filed its First

Amended Complaint in this case. On January 16, 2025, VoIP-Pal moved to for an extension of the

time for service of process. The Court granted that motion, and reset the service deadline for April

23, 2025. On January 27, 2025, the class action Plaintiffs filed their First Amended Complaint in

Inza, et al. v. AT&T, et al., Case No 1:24-cv-03054. Now, on this same day, VoIP-Pal and the class

action Plaintiffs are filing motions for leave to amend the First Amended Complaint in both cases.

       VoIP-Pal will serve all defendants via counsel by the April 23, 2025 deadline. Service will

contain all papers filed in this case, including a copy of this motion.
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                                      II. Standard of Review.

       The Federal Rules of Civil Procedure (“FRCP”) permit a party to amend its pleading

“[o]nly with the opposing party’s written consent or the court’s leave. The court should freely give

leave when justice so requires.” FRCP 15(a)(2). The Rules of the United States District Court for

the District of Columbia (“LCvR”) require a party seeking leave to file an amended pleading to

“attach, as an exhibit, a copy of the proposed pleading as amended.” LCvR 15.1.

       “The decision whether to grant leave to amend a complaint is within the discretion of the

district court, but leave should be freely given unless there is a good reason to the contrary.”

Gordon v. Courter, 118 F.Supp.3d 276, 283 (2015) (citing Willoughby v. Potomac Elec. Power

Co., 100 F.3d 999, 1003 (D.C.Cir.1996)). “Rule 15(a) provides for ‘maximum opportunity for

each claim to be decided on its merits rather than on procedural technicalities.’” Elmore v. Stryker

EMS, 2019 WL 13277435 (2019) (quoting Belizan v. Hershon, 434 F.3d 579, 584 (D.C. Cir.

2006)). “The underlying rationale behind the rule is that if the underlying circumstances should be

cause for relief than the plaintiff should be able to test his claim on the merits.” U.S. Telesis, Inc.

v. Ende, 297 F.R.D. 159, 161.s (2013) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). “[W]hen

a plaintiff has imperfectly stated what may be an arguable claim . . . leave to amend is ordinarily

in order.” Alley v. Resolution Trust Corp., 984 F.2d 1201, 1207 (1993).

       “Undue delay, undue prejudice to the defendant, or futility of the proposed amendment(s)

are factors that may warrant denying leave to amend.” Smith v. Cafe Asia, 598 F.Supp.2d 45, 48

(D.D.C. 2009) (citing Atchinson v. Dist. of Columbia, 73 F.3d 418, 425 (D.C.Cir. 1996)). The

defendant has the burden of showing why leave to file an amended complaint should not be

granted. Id. (citing LaPrade v. Abramson, Civil Action No. 97–10(RWR), 2006 WL 3469532, at

*3 (D.D.C. Nov. 29, 2006)).
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                               III. Amendment Should be Granted.

       Amendment of VoIP-Pal’s First Amended Complaint would not cause undue delay or

undue prejudice to the Defendants, any would not be futile.

       The VoIP-Pal has been engaged with the Defendants for the past several months, and has

received detailed commentary from the AT&T Defendants and the Verizon Defendants. Although

VoIP-Pal disagrees with the more substantial portions of that commentary, including the threats of

Rule 11 type sanctions, VoIP-Pal’s proposed Second Amended Complaint does take that

commentary into consideration.

       For example, in their letter dated October 17, 2024, the Verizon Defendants state “The

complaint you filed in this mater is long, repetitive, and replete with irrelevant and illogical

statements. . . . Rather than providing a "short and plain" statement of the case—the standard that

lawyers apply to such a pleading—it is repetitive, rambling, and wordy to an extreme.” That letter

is attached hereto as Exhibit 1.

       Likewise, in their letter dated February 28, 2025, the AT&T Defendants state:

       You have also litigated these cases in a manner that has unreasonably and
       vexatiously multiplied the proceedings in them. To take, again, just a few examples:

           •   Your complaints total roughly 260 pages each, repeat the same bare-bones
               factual allegations dozens of times, are riddled with extraneous references
               to caselaw and irrelevant legal doctrines, and fail to clearly identify the
               claims you intend to plead. See Achagzai v. Broadcasting Bd. of Gov’rs,
               109 F. Supp. 3d 67, 71 (D.D.C. 2015) (Moss, J.).

That letter is attached hereto as Exhibit 2, with the portions related to ongoing settlement

negotiations being redacted.

       In preparing its proposed Second Amended Complaint, VoIP-Pal has taken care to state its

claims efficiently and reduce the number of paragraphs to which the Defendants must respond in

their Answer, while bringing forward its primary allegations and causes of action.
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                           A. The case has not been unduly delayed.

       “[D]elay alone, absent prejudice to the party opposing the amendment, is insufficient to

bar an amendment to the pleadings.” Green v. American Broadcasting Companies, Inc., 647

F.Supp. 1359, 1367 (1986) (citing Securities and Exchange Commission v. National Student

Marketing Corp., 73 F.R.D. 444, 447 (D.D.C.1977)).

       There has been no undue delay in this proceeding. The deadline for service of process is

April 23, 2025, and VoIP-Pal is preparing to serve the Defendants through their counsel by that

date. Service itself will set the next procedural deadline – the filing of responsive pleadings – and

the burden of meeting that deadline will be on the Defendants.

                B. The Defendants will not be prejudiced by the amendment.

       ““Undue prejudice is not mere harm to the non-movant. . ..” Does I through III v. District

of Columbia, 815 F.Supp.2d 208, 215 (2011) (quoting Dove v. Wash. Metro. Area Transit Auth.,

221 F.R.D. 246, 248 (D.D.C.2004)). “To establish prejudice from a proposed amended pleading,

an ‘opposing party must show that it was unfairly disadvantaged or deprived of the opportunity to

present facts or evidence which it would have offered had the amendments been timely.’” Petworth

Holdings, LLC v. Bowser, 333 F.R.D. 297 (2019) (quoting In re Vitamins Antitrust Litig., 217

F.R.D. 30, 32 (D.D.C. 2003).

       With the full procedures of litigation still ahead of us, the Defendants have not lost any

opportunity to present facts or evidence in this case. They would not be unduly prejudiced by the

amendment.

                       C. The proposed amendment would not be futile.

       An amendment is futile if it would not survive a motion to dismiss. Smith v. Cafe Asia, 598

F.Supp.2d 45, 48 (2009).
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       “[W]hen ruling on a defendant's motion to dismiss, a judge must accept as true all
       of the factual allegations contained in the complaint.” Erickson, 551 U.S. at 94, 127
       S.Ct. 2197 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–56, 127 S.Ct.
       1955, 167 L.Ed.2d 929 (2007)) (other citations omitted). A court may not grant
       a motion to dismiss for failure to state a claim “even if it strikes a savvy judge that
       ... recovery is very remote and unlikely.” Twombly, 550 U.S. at 556, 127 S.Ct.
       1955 (internal quotation marks and citation omitted). “So long as the pleadings
       suggest a ‘plausible’ scenario to ‘sho[w] that the pleader is entitled to relief,’ a court
       may not dismiss.”

Atherton v. District of Columbia Office of Mayor, 567 F.3d 672 (2009) (emphasis added).

       VoIP-Pal respectfully states that the proposed Second Amended Complaint would survive

a motion to dismiss, and amendment would not be futile.

IV. VoIP-Pal will seek consent to amendment from the Defendants after they have entered
                              their appearance in this case.

       In previous conversations with counsel for the AT&T Defendants, the undersigned counsel

has become aware that the Defendants generally do not either to consent or to withhold consent to

procedural motions prior to entering their appearance in this case. For that reason, VoIP-Pal has

not sought consent as contemplated by FRCP 15(a)(2) prior to filing this motion.

       VoIP-Pal will promptly seek that consent from each Defendant after they have entered their

respective appearances.

          V. VoIP-Pal’s proposed Second Amended Complaint is attached hereto.

       A redlined copy of VoIP-Pal’s proposed Second Amended Complaint is attached hereto as

Exhibit 3. That document is redlined against VoIP-Pal’s First Amended Complaint. A clean copy

of VoIP-Pal’s Second Amended Complaint is attached hereto as Exhibit 4.

                                          VI. Conclusion.

       WHEREFORE Plaintiff VoIP-Pal.Com, Inc. respectfully requests that the Court grant

leave to amend Plaintiff’s First Amended Complaint, and enter VoIP-Pal’s Second Amended

Complaint, as shown in Exhibit 4, into the record.
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                                               Respectfully submitted,

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Filed: April 21, 2025




                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Plaintiff’s Motion for Leave to Amend

Plaintiff’s First Amended Complaint was served on April 22, 2025 to all counsel of record via the

Court’s electronic filing system.

                                               /s/ Travis Pittman
                                              Travis Pittman
